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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 DAMON ATKINS,
                        Plaintiff,                     C.A. No. 5:23-CV-02732-JMG

                      v.

 CITY OF READING, et al.,
                 Defendants.

            BRIEF IN SUPPORT OF PLAINTIFF’S MOTION FOR PARTIAL
                           SUMMARY JUDGMENT

                            STATEMENT OF RELEVANT FACTS

       Damon Atkins incorporates by reference his Statement of Undisputed Material Facts, filed

contemporaneously with this Brief.

                                     STANDARD OF REVIEW

       Summary judgment is due, in whole or in part, where there is no genuine issue of material

fact. Fed. R. Civ. P. 56(a). The record and all inferences drawn therefrom must be viewed in a light

most favorable to the nonmovant. United States v. Diebold, 369 U.S. 654, 655 (1962). Summary

judgment cannot be avoided through “some metaphysical doubt” on the facts. Matsushita Elec.

Industrial Co. v. Zenith Radio Corp., 475 U.S. 574, 586-87 (1986).

                                          ARGUMENT

I.     Sgt. Bradley T. McClure is Liable to Plaintiff for First Amendment Retaliation,
       Reserving Trial on Damages and Punitive Damages.

       This is a rare case where a police officer managed to do the opposite of everything required

by the First Amendment of the U.S. Constitution and all controlling judicial precedents thereunder.

There is no genuine issue of material fact as to Defendant McClure’s liability to Plaintiff for First

Amendment retaliation, 42 U.S.C. § 1983, and trial should therefore be reserved as to damages

and punitive damages. To establish a retaliation claim under the First Amendment, a plaintiff must
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prove: (1) constitutionally protected conduct, (2) retaliatory action sufficient to deter a person of

ordinary firmness from exercising his constitutional rights, and (3) a causal link between the

constitutionally protected conduct and the retaliatory action. Thomas v. Independence Township,

463 F.3d 285, 296 (3d Cir. 2006).

       Here, all three elements are met and Sgt. McClure has no genuine issue of material fact as

can warrant a defense on liability according to law. Atkins engaged in constitutionally protected

conduct. McClure arrested him for doing so, and that is sufficient to deter a person of ordinary

firmness from exercising his constitutional rights. The causal link here is stronger than in many

other cases — an arrest within 30 seconds after Atkins arrived at the scene and where McClure

had never met him before.

       A.      Atkins’ Speech was Protected and There is No Genuine Defense of Time, Place,
               or Manner Restriction.

       On June 3, 2023, Atkins was peaceably assembled on the southside of Washington Street,

opposite City Hall. He had a legal right to be where he was. Sgt. McClure and officers Courtney

Dupree and Paige Stuart stood in Washington Street, thereby safely separating the protesters on

the southside and the event attendees and counterprotesters on the northside. There were no

ordinances by the City of Reading which restricted Atkins’ distance from the permitted event or

how audible his voice should have been. Sgt. McClure admits that Atkins stayed on the sidewalk

and never entered into the street itself. If McClure had any reasonable time, place, or manner

defenses, if any at all, then the same are subject to heightened scrutiny. “[S]peech restrictions

embodied in the form of oral police directives present a greater risk of arbitrary enforcement than

legislative enactments, justifying a more searching review.” Snell v. City of York, 564 F.3d 659,

669 (3d Cir. 2009). In that context, the judiciary “will apply heightened scrutiny, upholding the

restriction only if it burdens no more speech than necessary to serve the interest asserted.” Id.


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(citing Madsen v. Women’s Health Ctr., 512 U.S. 753, 765 (1994) (emphasis added)).

       First of all, Atkins was then engaged in protected, religious speech under the First

Amendment of the U.S. Constitution. He held a sign which contained Bible verses, “Jesus Said

Go and Sin No More,” on one side and, “Jesus Said I am the Way, the Truth, and the Life.” For

the latter verse, the Court may judicially notice John 14:6 from the King James Version, “Jesus

answered, I am the way and the truth and the life. No one comes to the Father except through me.”

For the former Bible verse, the Court may judicially notice John 8:11 (KJV), where Jesus says to

the adulteress, “Neither do I condemn thee: go, and sin no more.” Additionally, Atkins wore a t-

shirt which contained the words, “You must be BORN AGAIN,” and a hat which read, “I

Jesus,” containing the heart symbol.

       The fighting words doctrine is limited to “face-to-face words plainly likely to cause a

breach of the peace . . .” Chaplinsky v. New Hampshire, 315 U.S. 568, 573 (1942) (emphasis

added). “The unprotected category of speech called ‘fighting words’ is an extremely narrow one.”

Johnson v. Campbell, 332 F.3d 199, 212 (3d Cir. 2003) The doctrine is limited to (1) face-to-face

confrontations, not a public speech directed at a crowd or its hecklers, and (2) words that “must be

nothing less than an invitation to exchange fisticuffs.” Id. (quotation omitted). It cannot reach pure

speech if it “causes emotional injury.” Purtell v. Mason, 527 F.3d 615, 624 (7th Cir. 2008). In

Snyder v. Phelps, 562 U.S. 443 (2011), Fred Phelps and members of the Westboro Baptist Church,

in Kansas, flew to Westminster, Maryland, to form a picket line on public lands adjacent to an

ongoing funeral of Marine Lance Corporal Matthew Snyder. Id. at 447-48. The latter was killed in

the Iraq War. Id. Standing roughly 1,000 feet from the church where the funeral was held, the

Westboro picketers carried signs that stated, “God Hates the USA / Thank God for 9/11,” “America

is Doomed,” “Don’t Pray for the USA,” “Thank God for IEDs,” “Thank God for Dead Soldiers,”


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“Pope in Hell,” “Priests Rape Boys,” “God Hates You.” Id. at 448. The Snyder family sued Phelps

and the picketers for the intentional infliction of emotional distress and obtained a verdict for

millions of dollars. The defendants interposed the First Amendment as a defense. Id. at 447-48.

         The Court ruled in favor of the Westboro Baptists. Id. at 461. First, the speech was

protected under the First Amendment and outside the scope of the fighting words doctrine. Id. at

451 n.3. In so doing, the Court reasoned as follows: (1) The First Amendment protects speech even

if it can “inflict great pain” on an individual or a group of individuals — there, the grieving family

of a fallen, honorable member of the U.S. Marine Corps, who served his country in the Iraq War.

Id. at 460-61. (2) In context of public speeches and public demonstrations, marches, or picketing,

it is not a “personal attack” that the Westboro Baptists made an example out of Lance Corporal

Matthew Snyder in order to convey a larger, religious message. Id. at 455. The Court reasoned the

picketing occurred in context of religious viewpoints the Westboro Baptists have held for several

years, namely, that America was becoming judged for its toleration of homosexuality and the evils

by the Catholic Church. And, “There was no pre-existing relationship or conflict” between the

Westboro Baptists and Matthew Snyder “that might suggest Westboro’s speech on public matters

was intended to mask an attack on Snyder over a private matter.” Id.

         In other words, when public speeches and public demonstrations, marches, or picketing

may single out a person, to make an example out of that person, the same “relates to broad issues

of interest to society at large, rather than matters of purely private concern.” Id. at 454.

         Here, Atkins was not face-to-face with any of the event attendees and his religious speech

does not and cannot be equated with fighting words. From the Declaration of Independence —

where rights are “inalienable” as endowed by the “Creator”1 — America’s history at the time of



1
    Declaration of Independence, para. 2 (U.S. 1776).
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the Founding, as well as the Preamble2 and Declaration of Rights under the Pennsylvania

Constitution,3 and where the Due Process Clause protects “the concept of ordered liberty”

measured at the time the Fourteenth Amendment was ratified, Washington v. Glucksberg, 521

U.S. 702, 721 (1997), there is no universe where McClure can assert that Bible verses and the

content of Christian religious speech, which were commonplace at the time of America’s

Founding, can be equated as unprotected. That flies in the face of more than 300 years of American

history and practice of religious toleration and the First Amendment promise for the free exercise

of religion. Christian concepts of the existence of God, the historical figure of Jesus Christ, the

sinfulness of the practice of homosexuality, and a future state of rewards and punishments called

“heaven” and “hell,” are not novelties in the slightest in American culture. Society can change but

the rights protected under the First Amendment do not. There is no doubt that the content of Atkins’

speech was protected, even if the event attendees had regarded it as offensive.

       Under the First Amendment, “Giving offense is a viewpoint” Matal v. Tam, 582 U.S. 218,

243 (2017), and the “mere fact that expressive activity causes hurt feelings, offense, or resentment

does not render the expression unprotected.” R.A.V. v. St. Paul, 505 U.S. 377, 414 (1992).

“Listeners’ reaction to speech is not a content-neutral basis for regulation.” Forsyth County

v. Nationalists Movement, 505 U.S. 123, 134 (1992) (emphasis added). “[T]he government may

not prohibit speech under a ‘secondary effects’ rationale based solely on the emotive impact that

its offensive content may have on a listener,” Saxe v. State Coll. Area Sch. Dist., 240 F.3d 200,

209 (3d Cir. 2001). “The emotive impact of speech on its audience is not a ‘secondary effect.’” Id.




2
 Pa. Const., pmbl. (“grateful to Almighty God” and “humbly invoking His guidance . . .”).
3
  Pa. Const., art. I, § 4 (“No person who acknowledges the being of a God and a future state of
rewards and punishments shall, on account of his religious sentiments, be disqualified to hold any
office or place of trust or profit under this Commonwealth.” (emphasis added)).
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(quoting Boos v. Barry, 485 U.S. 312, 321 (1988)). Based on the foregoing, speech is protected

even if the listener finds it insulting. Here, McClure equated the viewpoints that McClure had on

his signs and clothing, as well as his speech about persons “burning in hell,” as “hateful,”

“judgmental,” “antagonistic,” and “insults.” McClure considered the sign held by Atkins, with

Bible verses, as an “anti-gay slogan.” All of that constitutes viewpoint discrimination.

        Where McClure thought that Atkins was “trying to get a reaction from the crowd,” that,

too, is a content-based discrimination. As stated in the foregoing authorities, the emotive impact

on the crowd is precisely the point of having the First Amendment. Our speech can, does, and will

have such effect and is intended so to be. Atkins did not advocate for any unlawful act and McClure

cannot defend under a partisan theory that it “leads to” unlawfulness. The U.S. Supreme Court

held, “The mere tendency of speech to encourage unlawful acts is not a sufficient reason for

banning it.” Ashcroft v. Free Speech Coalition, 535 U.S. 234, 253 (2002). If the speaker does not

specifically advocate for “any action,” then the speaker’s words “could not be punished by the

State on the ground that they had a tendency to lead to violence.” Hess v. Indiana, 414 U.S. 105,

109 (1973) (quotation omitted).

        Where, as here, McClure made his decision to arrest Atkins based on viewpoint and content

of Atkins’ speech, such restrictions “are presumptively invalid and subject to strict scrutiny.”

Ysursa v. Pocatello Educ. Ass’n, 555 U.S. 353, 358 (2009) (citation omitted). If the law is

addressed to speech “based on its content, it must be narrowly tailored to promote a compelling

Government interest.” United States v. Playboy Entertainment Group, 529 U.S. 803, 813 (2000).

“If a less restrictive alternative would serve the Government’s purpose, the legislature must use

that alternative.” Id.

        Next, where the Atkins’ speech was protected, Sgt. McClure does not have any genuine



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defense of any reasonable time, place, or manner restriction.

       Atkins was arrested for (1) saying, “Yo, God is not” and (2) projecting his voice so as to

be heard by the event attendees for the 1st Reading Pride March & Rally. A categorical ban on any

speaking by Atkins is an “inadequate” mode of communication, Members of City Council v.

Taxpayers for Vincent, 466 U.S. 789, 812 (1984) (citations omitted), and fails strict scrutiny. The

record doesn’t establish that Atkisn had “yelled,” rather than simply projected his voice so as to

be heard, but the outcome is no different: “Even if he did yell or speak rather loudly, the volume

of his voice might not have been unreasonable.” Kennedy v. City of Villa Hills, 635 F.3d 210, 215

(6th Cir. 2011). An unreasonable noise is generally restricted to “approaching someone and

screaming,” Diener v. Reed, 77 F. App’x 601, 609 (3d Cir. 2003) (citing Commonwealth v.

Mastrangelo, 414 A.2d 54, 58 (Pa. 1980)). “The Superior Court of Pennsylvania has identified

four factors relevant to determining whether a person has engaged in disorderly conduct by making

unreasonable noise: (1) the volume of the noise; (2) the duration of the noise; (3) the time of day;

and (4) whether the noise was reported to the police.” McNeil v. City of Easton, 694 F. Supp. 2d

375, 391 (E.D. Pa. 2010) (citing Commonwealth v. Maerz, 879 A.2d 1267 (Pa.Super. 2005)). A

woman’s single outburst of shouting, while outdoors at and prior to ordinary sleeping hours, was

insufficient. Commonwealth v. Maerz, 879 A.2d 1267 (Pa.Super. 2005).

       That the 1st Reading Pride March & Rally was a permitted event does not change the

outcome. The gravamen of a special event permit is that the police have “an interest in ensuring

that a permit-holder can use the permit for the purpose for which it was obtained,” Startzell v. City

of Philadelphia, 533 F.3d 183, 198-99 (3d Cir. 2008). But it was held in Startzell, (1) a protestor

cannot be moved simply because the permit-holder does not want him there, id. at 199 (discussing

Parks v. City of Columbus, 395 F.3d 643 (6th Cir. 2005)); and (2) police can move protesters,



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including by way of force if necessary, if they use loud bullhorns or megaphones to drown-out the

permitted speech or stand in the middle of the walkway or path of the parade. Id. at 199. Where

the government attempts to justify its actions on the basis of vindicating another person’s

constitutional right, an actual conflict must be shown, “[I]n no world may a government entity’s

concerns about phantom constitutional violations justify actual violations of an individual’s First

Amendment rights.” Kennedy v. Bremerton Sch. Dist., 142 S. Ct. 2407, 2432 (2022).

       With these authorities in mind, as to noise violations and permitted events, the record fails

heightened scrutiny for the following reasons: (1) the event had not yet started; (2) the event

organizer had a PA System that could drown out Atkins; (2) Atkins stood on the southside of

Washington Street, where he wasn’t approaching someone and screaming as described in Diener;

(4) he did not block the path of the parade; and (5) the event organizers did not voice any

complaints to Sgt. McClure or the police that Atkins was preventing their event from starting or

carrying on. McClure admits, as he must, that the event had not started when Atkins spoke. That

is fatal. The fact of a permitted event, therefore, does not alter the outcome because there was no

actual conflict of rights shown on this record.

       Based on the foregoing, McClure does not have any genuine time, place, or manner defense

and the record unequivocally establishes that the balance of the decision to arrest was based on the

viewpoint and content of Atkins’ speech. Sgt. McClure saw the religious content of Atkins’ sign

and equated a Bible quote as an “anti-gay slogan.” After having prophylactically warned Atkins,

and hearing Atkins assert his rights and talk about people “burning in hell,” McClure assumed that

anything Atkins would have said, if he had completed his sentence, would have been grounds for

arrest under the offense of Disorderly Conduct. But under Pennsylvania law, the “disorderly

conduct statute may not be used to punish anyone exercising a protected First Amendment right.”



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Commonwealth v. Mastrangelo, 414 A.2d 54, 58 (Pa. 1980).

       The event attendees and counterprotesters never became unruly here. The police had the

situation under control. McClure, therefore, had no justification to silence Atkins through some

hypothetical, alternate universe where, in McClure’s words, everything would “turn into a circus.”

Even if the crowd had become angry and unruly, the speech is still protected under the Heckler’s

Veto cases. These precedents “tell us that police cannot punish a peaceful speaker as an easy

alternative to dealing with a lawless crowd that is offended by what the speaker has to say.” Bible

Believers v. Wayne County, 805 F.3d 228, 250 (6th Cir. 2015) (en banc) (discussing Edwards v.

South Carolina, 372 U.S. 229 (1963), Cox v. Louisiana, 379 U.S. 536 (1965), and Gregory v.

Chicago, 394 U.S. 111 (1969)). “[T]his is true when it appears that a crowd may turn to rioting, or

even in the face of actual violence,” id. at 251 (citations omitted).

       McClure thought he could make a value judgment whether it was proper for Atkins and his

protesters to have been there at all. He said, “I don’t understand why [the protesters] even showed

up, why they felt it necessary to show up and berate people.” McClure’s body camera captured his

goading of Matthew Wear (i.e., “Does it really affect your life that much? No, it doesn’t.”) and his

goading of Atkins (i.e., “They’re clapping for you, buddy! They’re clapping for you! You made

them more proud!”). This, too, is a prohibited content- or viewpoint-based discrimination that

violates the First Amendment. Government actors cannot engage in “an ad hoc balancing of

relative social costs and benefits” of particular speech because the First Amendment “itself” has

done that, reflecting “ a judgment by the American people that the benefits of its restrictions on

the Government outweigh its costs. United States v. Stevens, 559 U.S. 460, 470 (2010). Stevens

therefore means, “Speech cannot be criminalized merely because others see no value in it.” State

v. Burkert, 174 A.3d 987, 1000 (N.J. 2017). “At the heart of the First Amendment lies the principle



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that each person should decide for him or herself the ideas and beliefs deserving of expression,

consideration, and adherence.” Turner Broadcasting Sys. v. FCC, 512 U.S. 622, 641 (1994).

“Government action that stifles speech on account of its message, or that requires the utterance of

a particular message favored by the Government, contravenes this essential right.” Id.

       At summary judgment, the U.S. Supreme Court instructs trial courts to disregard a “visible

fiction” when deposition testimony is patently contradicted by video evidence. Scott v. Harris, 550

U.S. 372, 380 (2007). Here, besides Atkins’ deposition testimony, we have two videos disproving

McClure’s deposition testimony that Atkins was yelling at the crowd before McClure gave a

warning. It’s a complete, visible fiction. McClure’s Incident Report asserted that this statement

was derogatory, “Yo, God is not,” where it clearly is not. The principle of falsus in uno, falsus in

omnibus is seen here. Moreover, where McClure failed to record this interaction, despite having a

body camera and microphone, the inference arises that the lost evidence “would have been

unfavorable to the position of the offending party.” Schmid v. Milwaukee Elec. Tool Corp., 13

F.3d 76, 78 (3d Cir. 1994). “At summary judgment, the trier of fact generally may receive the fact

of nonproduction or destruction of relevant materials as evidence that the party that has prevented

production did so out of the well-founded fear that the contents would harm him.” Jutrowski v.

Township of Riverdale, 904 F.3d 280, 292 (3d Cir. 2018). Based on the foregoing, no rational

factfinder can accept a false narrative that Atkins was yelling at the crowd prior in time.

       From the video evidence and Atkins’ deposition testimony, the burden of production has

shifted to McClure to present a genuine issue of material fact. Celotex Corp. v. Catrett, 477 U.S.

317, 330 (1986). Even if the Court hypothetically assumed that Atkins was yelling prior in time,

because the event had not yet started and because McClure could not recall with any specificity as

to what was said, then McClure cannot carry any burden of production why that speech was,



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likewise, unprotected. McClure cannot present a genuine issue of material fact that survives strict

scrutiny. Summary judgment cannot be avoided through “some metaphysical doubt” on the facts.

Matsushita Elec. Industrial Co. v. Zenith Radio Corp., 475 U.S. 574, 586-87 (1986). Affidavits or

deposition testimony that are “essentially conclusory and lacking in specific facts” are “inadequate

to satisfy the movant’s burden.” Maldonado v. Ramirez, 757 F.3d 48, 51 (3d Cir. 1985).

        Finally, McClure cannot avoid summary judgment by restating legal conclusions through

the leading of defense counsel. Maldonado, 757 F.3d at 51. Whether by way of affidavits or

deposition testimony, where a deponent “contradicts earlier deposition testimony without a

satisfactory or plausible explanation, a district court may disregard it at summary judgment in

deciding if a genuine, material factual dispute exists.” Daubert v. NRA Group, LLC, 861 F.3d 382,

391 (3d Cir. 2017) (citations omitted). In the Third Circuit, “we ad here to a flexible approach,

giving due regard to the surrounding circumstances.” Id. (citations and internal quotations deleted).

If a witness “shows she was confused at the earlier deposition or for some other reason misspoke,”

then “the subsequent correcting or clarifying affidavit may be sufficient to create a material dispute

of fact.” Id. at 392 (citations and internal quotations deleted). The same result is attained “if there’s

independent evidence in the record to bolster an otherwise questionable affidavit.” Id.

        Here, the totality of McClure’s deposition testimony on direct examination admits

viewpoint and content based discrimination. He therefore cannot contradict that earlier testimony

where defense counsel asked him, as leading, legal conclusions:

        Q.      The content of [Atkins’] speech was irrelevant to the reason that you
        arrested him for disorderly conduct. Is that correct?

        A.     Well, I felt the content of his speech was designed to antagonize the crowd,
        which is why he was arrested.

        Q.      Okay. I should clarify. It wasn’t because of his viewpoint?



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        A.      No.

[App. 86 (McClure Dep. Tr. 133:21-25 to 134:1-4)]. As shown in McClure’s own body camera, a

pattern of First Amendment violations is established in this case, before Atkins even arrived, where

McClure unjustifiably threatened to arrest Matthew Wear for uttering “insults,” based on the

religious viewpoints of Wear, before the event had begun.

        Trial is properly reserved for damages and punitive damages here. For purposes of punitive

damages, whether McClure acted with a reckless or callous disregard of, or indifference to, the

rights of others, Keenan v. City of Philadelphia, 983 F.2d 459, 469-70 (3d Cir. 1992), the jury may

consider the video evidence, including the body camera footage on his conduct towards Matthew

Wear, whether McClure intentionally lied in writing the Incident Report and during his deposition,

as well as McClure’s goading of Matthew Wear and Damon Atkins.

        B.      The Affirmative Defense of Qualified Immunity Fails.

        There is no genuine issue of material fact on the affirmative defense of qualified immunity.

Under that doctrine, “this court does not require relatively strict factual identity between applicable

precedent and the case at issue. [S]ome but not precise factual correspondence to precedent would

be required.” Stoneking v. Bradford Area Sch. Dist., 882 F.2d 720, 726 (3d Cir. 1989) (citations

and internal quotations deleted). By invoking qualified immunity, these Defendants distort caselaw

into some sort of unwritten Speech Code. That cannot be correct. Every reasonable police officer

in America knows, or should know, that the First Amendment prohibits speech codes, whether

enacted “by legislatures, courts, or dominant political or community groups.” Terminiello v.

Chicago, 337 U.S. 1, 4-5 (1949). “If there is any fixed star in our constitutional constellation, it is

that no official, high or petty, can prescribe what shall be orthodox in politics, nationalism, religion,

or other matters of opinion or force citizens to confess by word or act their faith therein.” West

Virginia Bd. of Educ. v. Barnette, 319 U.S. 624, 642 (1943).
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       All of the caselaw cited in Subpart A was firmly established before June 3, 2023. No

reasonable police officer can obtusely feign ignorance here. Under concepts of ordered liberty

under the Due Process Clause of the Fourteenth Amendment, McClure cannot assert, contrary to

more than 300 years of American history and practice of religious toleration, that merely uttering

core religious beliefs in the Christian religion is unprotected speech if the listener found it

offensive, insulting, or antagonistic. Based on the foregoing, the affirmative defense of qualified

immunity is no bar to the entry of summary judgment in favor of Plaintiff.

II.    Sgt. Bradley T. McClure is Liable to Plaintiff for Fourth Amendment Violation,
       Reserving Trial on Damages and Punitive Damages.

       There is no genuine issue of material fact as to Defendant McClure’s liability to Plaintiff

for a Fourth Amendment violation, 42 U.S.C. § 1983, and trial should therefore be reserved as to

damages and punitive damages.

       Generally, the Fourth Amendment protects “[t]he right of the people to be secure in their

persons,” among other things. U.S. Const., amend. IV. That is implicated where, by “show of

authority,” a government actor terminates or restrains one’s “freedom of movement.” Brendlin v.

California, 551 U.S. 249, 254 (2007). “A warrantless arrest of an individual in a public place for a

felony, or a misdemeanor committed in the officer’s presence, is consistent with the Fourth

Amendment if the arrest is supported by probable cause.” Maryland v. Pringle, 540 U.S. 366, 370

(2003). Involuntarily handcuffing a person and taking him to another location, including a police

station, is an arrest. Kaupp v. Texas, 538 U.S. 626, 630 (2003).

       Here, McClure arrested Atkins, without a warrant, for the offense of Disorderly Conduct,

transported him to a police station, and detained him. Therefore, to be lawful under the Fourth

Amendment, there had to have been probable cause for Disorderly Conduct. Under Pennsylvania

law, the “disorderly conduct statute may not be used to punish anyone exercising a protected First


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Amendment right.” Commonwealth v. Mastrangelo, 414 A.2d 54, 58 (Pa. 1980). Because McClure

violated Atkins’ First Amendment rights, there likewise was no probable cause as a matter of law

under the Fourth Amendment to have arrested and detained Atkins.

       McClure raises the affirmative defense of good faith belief that probable cause exists. [ECF

No. 10, at 15]. “The Fourth Amendment tolerates only reasonable mistakes, and those mistakes

— whether of fact or of law — must be objectively reasonable. We do not examine the subjective

understanding of the particular officer involved.” Heien v. North Carolina, 574 U.S. 54, 66-67

(2014) (emphasis in original). Here, nothing in the record establishes a reasonable mistake.

Because probable cause was subsumed within the First Amendment analysis, whether McClure

had a good faith belief that probable cause existed is, likewise, subsumed within qualified

immunity and it fails for the same reasons stated above in Part I.B. All the precedents which

establish the unlawfulness of what McClure did were well-settled before June 3, 2023.

III.   Sgt. Bradley T. McClure is Liable to Plaintiff for Malicious Prosecution, Reserving
       Trial on Malice, Damages and Punitive Damages.

       Plaintiff is entitled to summary judgment for the malicious prosecution claims under

Counts Three (42 U.S.C. § 1983) and Eight (Pennsylvania common law) of the Complaint. To

prevail in a Section 1983 malicious prosecution claim, “a plaintiff must show: (1) the defendants

initiated a criminal proceeding; (2) the criminal proceeding ended in the plaintiff’s favor; (3) the

proceeding was initiated without probable cause; (4) the defendants acted maliciously or for a

purpose other than bringing the plaintiff to justice; and (5) the plaintiff suffered a deprivation of

liberty consistent with the concept of seizure as a consequence of a legal proceeding.” DiBella v.

Beachwood, 407 F.3d 599, 601 (3d Cir. 2005) (quotation omitted). “[A] section 1983 malicious

prosecution claim may also include police conduct that violates the Fourth Amendment, the

procedural due process clause or other explicit text of the Constitution.” Torres v. McLaughlin,


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163 F.3d 169, 173 (3d Cir. 1998). Under Pennsylvania law, the tort has the same elements

“however, there is no requirement to prove a deprivation of liberty.” Henderson v. City of

Philadelphia, 853 F. Supp. 2d 514, 518 (E.D. Pa. 2012) (citing Merkle v. Upper Dublin Sch. Dist.,

211 F.3d 782, 791 (3d Cir. 2000)).

       Here, all elements are met, and trial can be reserved for damages and punitive damages.

McClure filed a Criminal Complaint for Disorderly Conduct, as a misdemeanor grading. The filing

of a Complaint institutes a criminal action under Pennsylvania law. Pa. R. Crim. P. 502. The

District Attorney withdrew the charge, which terminated the proceeding in favor of Atkins. It is

well-settled “that abandonment of charges by the prosecutor is sufficient to satisfy the favorable

termination element of a civil claim for malicious prosecution.” Shurelds v. Silo, Div. of Cyclops

Corp., 1987 U.S. Dist. LEXIS 2300, at *5 (E.D. Pa. Mar. 27, 1987) (citations omitted). There was

no probable cause for the criminal proceeding, and McClure acted for a purpose other than bringing

Atkins to justice, by violating Atkins’ First and Fourth amendment rights on the same grounds as

stated in Parts I and II, supra. Atkins suffered a deprivation of liberty, namely, becoming arrested

and taken to the police station.

       Because McClure acted for a purpose other than bringing the plaintiff to justice by violating

Atkins’ First and Fourth Amendment rights, the Court need not consider the alternative ground

whether McClure acted maliciously. However, this record establishes that element as well. “Malice

may be inferred from the absence of probable cause.” Washington v. Brown, 2017 U.S. Dist.

LEXIS 69565, at *21 (E.D. Pa. May 5, 2017) (quoting Lippay v. Christos, 996 F.2d 1490, 1502

(3d Cir. 1993), abrogated on other grounds, Albright v. Oliver, 510 U.S. 266 (1994))). Malice may

also be shown by “ill will in the sense of spite, lack of belief by the actor himself in the propriety

of the prosecution, or its use for an extraneous improper purpose.” Id. (quotation omitted).



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       McClure accused Atkins of Section (a)(1) of Disorderly Conduct. Under that provision, “A

person is guilty of disorderly conduct if, with intent to cause public inconvenience, annoyance or

alarm, or recklessly creating a risk thereof, he: *** (1) engages in fighting or threatening, or in

violent or tumultuous behavior.” 18 Pa.C.S. § 5503(a)(1). The offense is a misdemeanor “if he

persists in orderly conduct after warning or request to desist.” Id. Here, the video evidence

unequivocally demonstrates that Atkins did not engage in any fighting or threatening or violent or

tumultuous behavior. At summary judgment, the Court cannot accept any “visible fiction” by

McClure contradicted by the video evidence. Scott v. Harris, 550 U.S. 372, 380 (2007). This is not

a case where McClure missed probable cause by an inch, he missed it by a mile to such a gross

extent that McClure could not have seriously accepted the propriety of the prosecution.

       The record demonstrates ill will here. The video evidence further shows McClure goading

Matthew Wear and Atkins. McClure’s body camera was activated and that recorded him goading

Atkins, “They’re clapping for you, buddy! They’re clapping for you! You made them more

proud!” [App. 98 (McClure Body Cam. 1:10 to 1:30)]. The record further shows that McClure

made several false statements in the Incident Report, namely, that the statement, “Yo, God is not,”

is somehow “derogatory.” That Bible verses on Atkins’ sign were somehow an “anti-gay slogan.”

“[M]alice is shown” where, in commencing a criminal action, “an officer made false statements or

omitted facts knowingly or with reckless disregard for the truth.” Montgomery v. Saenz, 2018 U.S.

Dist. LEXIS 212819, at *8 (D. Colo. Dec. 17, 2018) (citing Taylor v. Meacham, 82 F.3d 1556,

1563 (10th Cir. 1996)).

       Therefore, as to Counts Three and Eight of the Complaint, summary judgment in favor of

Plaintiff is proper on all elements of liability for malicious prosecution, reserving trial on damages

and punitive damages. In the alternative, summary judgment for Plaintiff is proper on all elements



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of liability other than malice.

IV.     Sgt. Bradley T. McClure is Liable to Plaintiff under the Torts of False Imprisonment
        and Assault and Battery, Reserving Trial on Damages and Punitive Damages.

        Plaintiff is entitled to summary judgment as to liability for Counts Seven (False

Imprisonment) and Nine (Assault and Battery), reserving trial on damages and punitive damages.

        Under Pennsylvania common law, “The elements of false imprisonment are (1) the

detention of another person, and (2) the unlawfulness of such detention.” Renk v. City of

Pittsburgh, 641 A.2d 289, 293 (Pa. 1994). Probable cause to arrest is a complete defense,

“regardless of whether the individual arrested was guilty or not.” Id. Under Pennsylvania law, an

arrest cannot be made for a misdemeanor unless committed in the presence of the arresting police

officer. Pa. R. Civ. P. 502(2)(1). Under the tort of false imprisonment, a warrantless arrest can be

made for felonies or, “if committed in the presence of the officer, a misdemeanor had been

committed by the person taken into custody.” Burford v. Richards, 58 Pa. Super. 8, 12-13 (1914).

“No authority justifies an arrest without a warrant for a summary offense committed beyond the

presence of an arresting officer in the absence of a statute giving that right.” Commonwealth v.

Trunzo, 589 A.2d 1147, 1150 (Pa.Super. 1991).

        Under Pennsylvania law, “Assault is an intentional attempt by force to do an injury to the

person of another, and a battery is committed whenever the violence menaced in an assault is

actually done, though in ever so small a degree, upon the person.” Renk v. City of Philadelphia,

641 A.2d 289, 293 (Pa. 1994) (quotation omitted). Ordinarily, there is no requirement for physical

injury. Montgomery v. Bazaz-Sehgal, 742 A.2d 1125, 1130 (Pa.Super. 1999) (“[T]here need be no

physical injury, but only some contact . . .”). “Implicit in the tort of battery is the recognition that

an individual has a right to be free from unwanted and offensive or harmful intrusions upon his

own body.” Id. (quotation omitted). But there is an exception to that general rule: If an arrest is


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otherwise lawful, “A police officer may be held liable for assault and battery when [the factfinder]

determines that the force used in making an arrest is unnecessary or excessive.” Renk v. City of

Philadelphia, 641 A.2d 289, 293 (Pa. 1994). This standard applies if an officer is “making a lawful

arrest” in the line of duty. Id. “The reasonableness of the force used in making the arrest determines

whether the police officer's conduct constitutes an assault and battery.” Id.

       Here, Atkins was detained and the detention was unlawful for the same reasons stated in

Parts I and II, supra. Furthermore, McClure is restricted to what was committed in his presence,

which left only the statement, “Yo, God is not.” As to assault and battery, all elements are met. As

shown in the Video, McClure charged at Atkins, who witnessed the same, and McClure put his

hands on Atkins and restrained him with handcuffs. Because the arrest was unlawful on the same

grounds as Parts I and II, supra, there is no element for physical injury. However, even if the Court

disagrees, the record shows that Atkins complained to McClure that the handcuffs were on too

tight, and pain was experienced.

       Therefore, as to Counts Seven and Nine of the Complaint, summary judgment in favor of

Plaintiff is proper on all elements of liability for malicious prosecution, reserving trial on damages

and punitive damages.

V.     The Political Subdivision Tort Claims Act and the Balance of Remaining Affirmative
       Defenses All Fail.

       Defendant McClure, as employee of the City of Reading, invokes immunity under the

Political Subdivision Tort Claims Act, 42 Pa.C.S. § 8541 et seq. [ECF No. 10 at 15]. Under the

Act, individual, municipal employees remain personally liable for their conduct that constitutes “a

crime, actual fraud, actual malice or willful misconduct,” 42 Pa.C.S. § 8550, and “willful

misconduct” is “synonymous with the term ‘intentional tort.’” Renk v. City of Philadelphia, 641

A.2d 289, 293 (Pa. 1994) (quotation omitted). The torts of malicious prosecution, false


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imprisonment, and assault and battery are intentional torts and therefore not covered by the Act.

Hayes v. City of Philadelphia, 2005 U.S. Dist. LEXIS 27916, at *24 (E.D. Pa. Nov. 14, 2005)

(malicious prosecution); DiSalvio v. Lower Merion Sch. Dist., 158 F. Supp. 2d 553, 562 (E.D. Pa.

2001) (assault and battery); RESTATEMENT (SECOND) OF TORTS § 35 (false imprisonment is an

intentional tort). The affirmative defense fails.

       Summary judgment can be granted on any “claim or defense,” including any “part of each

claim or defense,” including affirmative defenses. Fed. R. Civ. P. 56(a). Civil Rule 8(c) permitted

the Defendants to raise affirmative defenses in their Answer to the Complaint, but a review of the

27 affirmative defenses in ECF No. 10 show that nearly all are not genuine affirmative defenses

and were otherwise addressed in the above arguments. We summarize the affirmative defenses by

the table in Exhibit A, and the Court should find that Qualified Immunity, good faith as to probable

cause, and the Political Subdivision Tort Claims Act were the only genuine affirmative defenses

raised and adequately addressed in this brief.

       In the pleadings, courts recognize it is procedurally improper for an Answer, or Reply, to

raise fact defenses or “negative defenses” that simply restate the opposite of the adversary’s burden

of proof. Hubbell v. World Kitchen, LLC, 688 F. Supp. 2d 401, 422-23 (W.D. Pa. 2010). Genuine

affirmative defenses are those where the law assigns the burden of proof onto the party raising the

same. T. Levy Assocs. v. Kaplan, 2017 U.S. Dist. LEXIS 133021, at *9-10 (E.D. Pa. 2017).

Defendant’s affirmative defenses do not preclude summary judgment for Plaintiff.

V.     Defendant Courtney Dupree (Deceased) Should be Dismissed from the Case.

       Co-Defendant Courtney Dupree (deceased) should be dismissed from the case. A

Suggestion of Death was filed on the record on February 7, 2024 [ECF No. 18]. By operation of

law, a deceased party must be dismissed if no motion is made within 90 days from the entry of the

Suggestion, by any party or successor or representative, for the substitution of an estate. Fed. R.
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Civ. P. 25(a)(1). That occurred here. No one desires for an estate to be substituted.

                                         CONCLUSION

       WHEREFORE, based on the forgoing, the Court should grant Plaintiff’s Motion for

Partial Summary Judgment, as follows:

(A)    Entry of summary judgment on liability in favor of Plaintiff and against Defendant Bradley

T. McClure, reserving trial on damages and punitive damages, as to Count One (First Amendment

Retaliation), Count Two (Fourth Amendment Violation), Count Three (Malicious Prosecution),

Count Seven (False Imprisonment), Count Eight (Malicious Prosecution), and Count Nine

(Assault and Battery).

(B)    Dismiss Defendant Courtney Dupree (deceased) from the case.

(C)    Such other relief as the Court deems necessary, just, or appropriate.

                                              Respectfully submitted,

                                              CORNERSTONE LAW FIRM, LLC

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